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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

JUDITH NEW MAN,                        Cause No. 9:13-CV-00047-DLC
as Personal Representative
of the Estate of Karlye Newman

                        Plaintiff,
                                       DEFENDANT’S CROSS-MOTION
            v.                         FOR SUMMARY JUDGMENT

UNITED FIRE AND CASUALTY
COMPANY,

                        Defendant.


      COMES NOW Defendant United Fire and Casualty Company (“United

Fire”), through its counsel of record, and submits its Cross-Motion for Summary



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Judgment. This motion is supported by an accompanying brief. Plaintiffs’

counsel has been contacted and objects to this motion.


                           DATED this 10 th day of May, 2013.

                                 /s/ Stephanie A. Hollar
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                             CERTIFICATE OF SERVICE

     I hereby certify that on the 10th day of May, 2013, a copy of the foregoing
document was served on the following persons CM/ECF:

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